    Case: 1:19-cr-00669 Document #: 645 Filed: 07/26/22 Page 1 of 4 PageID #:10585


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



 UNITED STATES OF AMERICA

        v.
                                                      Case No. 19-cr-00669
 GREGG SMITH,
 MICHAEL NOWAK, and                                   Hon. Edmond E. Chang
 JEFFREY RUFFO.

                      Defendants.



                                          STIPULATION

       The United States of America and Defendant Jeffrey Ruffo, through their undersigned

counsel, hereby stipulate and agree as follows:




                                                  1
    Case: 1:19-cr-00669 Document #: 645 Filed: 07/26/22 Page 2 of 4 PageID #:10586


                                      STIPULATION NO. 4

       FBI Special Agent (SA) Jonathan Luca completed a written report regarding an interview of

John Edmonds on November 8, 2019. SA Luca’s interview report was based on contemporaneous

notes, but was not a transcript of Mr. Edmonds’s statements made during the interview and did not

capture every word said by Mr. Edmonds during the interview. SA Luca’s written report is a summary

of Mr. Edmonds’s statements made at that time. SA Luca’s interview report states, in part, that

“Edmonds did not recall Ruffo using explicit terms or phrases with regard to the clicking or trading

activity. Nor did Edmonds have any specific memories of Ruffo encouraging spoofing.” The

government does not possess notes or an interview report reflecting that Mr. Edmonds stated

otherwise to the FBI prior to his testimony in Court. SA Luca’s interview report of the November 8,

2019 interview of Mr. Edmonds also states that “Ruffo never said anything to Edmonds about clicking

or spoofing. Ruffo only talked about where his accounts had got done or filled and where the market

was going.”




                                                 2
  Case: 1:19-cr-00669 Document #: 645 Filed: 07/26/22 Page 3 of 4 PageID #:10587




Dated: ___________, 2022



Guy Petrillo                                Avi Perry
Daniel Z. Goldman                           Matthew F. Sullivan
Leonid Sandlar                              Lucy Jennings
Petrillo Klein & Boxer LLP                  Christopher Fenton
655 Third Avenue                            U.S. Department of Justice
New York, NY 10017                          Criminal Division, Fraud Section
(212) 370-0331                              1400 New York Ave. NW
                                            Washington, DC 20530
Bethany Biesenthal                          (202) 353-6200
Jones Day
110 North Wacker Drive                      Counsel for the United States
Suite 4800
Chicago, IL 60606
(312) 269-4303

Counsel for Jeffrey Ruffo
  Case: 1:19-cr-00669 Document #: 645 Filed: 07/26/22 Page 4 of 4 PageID #:10588




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2022, I caused a copy of the foregoing to be filed with the

Clerk of the Court through the CM/ECF system, which will provide notice of the filing to all

counsel of record.


                                                 Respectfully submitted,

                                                  /s/ Bethany K. Biesenthal
                                                 Bethany K. Biesenthal
                                                 JONES DAY
                                                 110 North Wacker Drive
                                                 Suite 4800
                                                 Chicago, IL 60606
                                                 (312) 269-4303

                                                 Guy Petrillo
                                                 Daniel Goldman
                                                 Leonid Sandlar
                                                 PETRILLO KLEIN & BOXER LLP
                                                 655 Third Avenue, 22nd Floor
                                                 New York, NY 10017
                                                 (212) 370-0331

                                                 Counsel for Jeffrey Ruffo
